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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO



 Criminal Action No. 14-cr-00231-WJM

 UNITED STATES OF AMERICA,
             Plaintiff,

 v.


 #1 RICKY GARRISON,
              Defendant.


 ______________________________________________________________________


          Unopposed Motion to Review Newly Produced Discovery
 ______________________________________________________________________


 COMES NOW, Ricky Garrison, Defendant, by and through counsel, and hereby files this

 Unopposed Motion to Review Newly Produced Discovery. In support of this motion,

 defendant states the following:

      1. On June 29, 2017 the Court issued its Order, Doc. #1378, granting the

         Defendant’s Unopposed Motion to Continue Sentencing. The Court ordered the

         parties to meet and confer and to file a Joint Status Report. The parties met and

         conferred and filed a Joint Status Report.

      2. During the meet and confer, the government agreed to attempt to collect

         information as outlined in the Joint Proposed Scheduling Order, Doc. #1382.




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    3. On September 1, 2017 the government produced 57 pages of new discovery

       related to the Adams County murder investigation. This new discovery is a Case

       Summary Report of the murder investigation.

    4. Counsel for defendant needs additional time to review this newly produced

       material and to meet and confer with Mr. Garrison concerning the contents of this

       material in order to properly defend Mr. Garrison.

    5. Counsel for the defense and the government have conferred and the government

       does not oppose an extension of 30 days for the defense to review the material

       produced.

    6. Defendant requests 30 days to review the newly produced discovery and to meet

       and confer with Mr. Garrison. As the Court is aware, Mr. Garrison is incarcerated

       at the ICE Detention Facility and, as a result, meeting with Mr. Garrison entails

       setting aside, roughly, one half day.

    7. The defendant is in custody; there is no listed victim in this case; no party is

       prejudiced by a continuation of sentencing; a sentencing date is not currently set

       due to the issues related to this request.



                                               Requests



    8. The defense requests an additional thirty (30) days to review the newly produced

       discovery and to meet with Mr. Garrison.




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    9. The defense requests that the Court allow the parties to file a Status Report on

       October 2, 2017 addressing whether or not any additional motions or time is

       needed before the case is set for a sentencing date.



 Wherefore, for the reasons stated herein, defendant requests the Court grant the

 requests contained in this Unopposed Motion.



 DATED at Denver, Colorado this, 1st day of September 2017.




                                        Respectfully submitted,

                                        /s/ Miller Leonard
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                                        ON BEHALF OF DEFENDANT GARRISON



                                        /s/ Sean McDermott
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                               CERTIFICATE OF SERVICE



 I hereby certify that on the 1st day of September 2017, I electronically filed the foregoing
 with the Clerk of the Court using the CM/ECF system which will send notification of such
 filing to all counsel of record in the case.



 Miller Leonard




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